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               United States Court of Appeals
                                For the First Circuit
 No. 14-1355
                   FRANK M. BARREPSKI, JR.; CARRIE M. BARREPSKI

                                    Plaintiffs - Appellants

                                              v.

                          EXPERIAN INFORMATION SOLUTIONS, INC.

                                    Defendant - Appellee

                              CAPITAL ONE BANK (U.S.A.) N.A;

                                          Defendant


                                        MANDATE

                                   Entered: March 9, 2015

        In accordance with the judgment of February 12, 2015, and pursuant to Federal Rule of
 Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                            By the Court:

                                            /s/ Margaret Carter, Clerk


 cc:
 Carrie M. Barrepski
 Frank M. Barrepski Jr.
 Robert C Brady
 Timothy J. Duva
 Keith M. Kollmeyer
